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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND

DEBORAH LAUFER,
         Plaintiff,

v.                                                              Case No: 1:20-cv-1973-SAG


BRE/ESA P PORTFOLIO, LLC,
           Defendant.

                          NOTICE OF SUPPLEMENTAL AUTHORITY

        Plaintiff, by and through undersigned counsel, hereby submits this Supplemental

Authority in support of her standing.

        In Laufer v. U.L.S.T., LLC dba Waterfront Hotel & Marina, 2020 U.S. Dist. LEXIS

206417 (N.D.Ill. 11/4/20)(“Watefront”), a court in the Northern District of Illinois denied a

motion to dismiss advancing arguments that are identical to those made by the Defendant in the

case at bar.

        The Court rejected the defendant’s argument that Carello v. Aurora Policemen Credit

Union, 930 F.3d 830 (7th Cir. 2019), provided any basis for denial of standing for informational

injury. Id., pp. 6-8. As the Waterfront Court noted, Carello was strictly limited to instances

where the plaintiff was legally barred from using the using the defendant’s services. Id., **9, 10-

12.

        The Waterfront Court observed that the Carello decision made several points:

        First, that the Carello Court held that plaintiff’s status as a tester does not deprive her of

standing. Id., **11-12.

        Second, that the Carello Court acknowledged that dignitary and informational harms can


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qualify as injuries-in-fact. Id. *13.

        Third, that the Carello Court held an informational injury occurs when the defendant

refuses to provide the plaintiff with information that a law entitles the plaintiff to obtain and that

the plaintiff need not allege any additional harm beyond his failure to receive information that the

law renders subject to disclosure. Id., **12-13.

        Significantly, the Waterfront Court reasoned that a plaintiff has standing to sue even if

they did not intend to book a room. In this respect, the court held:

        What Carello reinforces is that absent such a legal barrier, informational and dignitary
        injuries do suffice to support Article III standing. And that is exactly what Laufer alleges
        here. She claims that the inadequate disclosures about Waterfront’s accessibility
        “deprive her of the information required to make meaningful choices for travel,” and that
        she “suffer[s] … frustration and humiliation as the result of the discriminatory conditions
        present” on the hotel’s booking pages. [] Thus, even absent a concrete plan to visit
        Johnsburg, Laufer has standing to bring this ADA suit.

Id. **12-13.

        The Waterfront Court also held:

        Waterfront next submits that the complaint fails to state a claim, arguing that the ADA
        “requires the hotel to accommodate Ms. Laufer’s disabilities [only] if she desires to stay
        there.” [] As explained above, however, Laufer’s alleged injury is not the inability to stay
        at Waterfront; rather, it is the inability to determine whether she can stay there, as well as
        the stigmatic injury resulting from Waterfront’s failure to make accessibility information
        available.

Id. **13-14 (Emphasis supplied).

        In this respect, the Waterfront opinion joins the growing body of district court decisions

holding that encountering a discriminatory online reservations system gives rise to injury-in-fact

that an intent to book a room or travel to the area is not required.




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                                  Respectfully submitted,

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